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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF NEW YORK

    In re
                                                                            Chapter 11

                  27 Putnam Ave LP, et al,1                        Case no. 19-13412(RG)

                                                                    Jointly Administered
                                Debtor.



     OBJECTIONS OF ELENA LUNYOVA, MICHELLE MORTENSEN, NICOLE
      SWEET AND THE GRAND PUTNAM TENANT ASSOCIATION TO THE
             DEBTORS’ PLAN AND DISCLOSURE STATEMENT


TO:               THE HONORABLE ROBERT E. GROSSMAN
                  UNITED STATES BANKRUPTCY JUDGE


Elena Lunyova, Michelle Mortensen, Nicole Sweet and the Grand Putnam Tenant

Association (GPTA) (collectively “the Tenants”), by and through their undersigned

counsel, Ellery Ireland, hereby object to the Debtors’ Disclosure Statement [Dkt. No. 54]

and Plan of Reorganization [Dkt. No. 55] (the “Objections”).           In support of their

Objections, the Tenants state as follows:

                                 INTRODUCTORY STATEMENT

                  1.     For four years the Debtors have engaged in a fraudulent scheme to

inflate residential rents and deregulate apartments in the subject premises.

                  2.     The rent rolls for the subject premises—the document maintained by

the DHCR listing all of the rents for all of the rent-stabilized apartments in a building—


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  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer
identification number are as follows: 27 Putnam Ave LP (7503); 90 Downing St LP (7503); 423
Grand Ave LP (7503); and 429 Grand Ave LP (7503).


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are full of fraudulently inflated rents; there are also presently several vacant units in the

subject premises, and the registered rents for those units have also likely been

fraudulently inflated.

              3.     In proposing to sell the subject premises free and clear of any claims

or interest, the Debtors attempt to validate a fraud, to sell the subject premises free and

clear of any present or future tenants’ challenges to the lawfulness of the rents.

              4.     The substance of the Tenants’ objection is that the Disclosure

Statement and Plan should not validate the illegal rents that the Debtor has registered

with the DHCR: the disclosure and plan must guarantee that any prospective purchaser

of the subject premises be on notice that the rents registered by the Debtors are contested

and are not reliable and that, in accordance with New York law, any prospective purchaser

may be liable for the Debtors’ overcharges and rent challenges more generally.

                     LEGAL AND REGULATORY FRAMEWORK

              5.     A multiple-dwelling with rent-stabilized apartments carries unique

liabilities; an understanding of these unique liabilities is essential to an understanding of

the problems presented by the Debtors’ Disclosure Statement and Plan.

              6.     Liability for rent overcharge stays with a property even after the

landlord who committed the initial overcharge transfers ownership of the property to

another: so, for example, if Landlord A overcharges Tenant for years 1, 2, and 3, before

transferring the property to Landlord B, when Tenant sues Landlord B for rent overcharge

in year 4, Landlord B is liable for the overcharges committed in years 1, 2 and 3, with

treble damages, even though Landlord B was not involved in the overcharges.




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                  7.     This is so because of RPL § 223:

                  A lessee of real property, his assignee or personal representative,
                  has the same remedy against the lessor, his grantee or assignee,
                  or the representative of either, for the breach of an agreement
                  contained in the lease, that the lessee might had against his immediate
                  lessor, except of covenant against incumbrances or relating to
                  the title or possession of the premises leased.

                  8.     So here, if instead of filing for relief under Chapter 11, the Debtors had

simply sold the subject premises on the free market in an arms-length transaction,

liability for all present and future claims regarding unlawful rents and rent overcharge

would have been preserved as against the new landlord, and over the course of time,

ideally, the fraudulent rents would come to light and undergo correction.

                  9.     However, there is a very important exception to RPL § 223, and it is

found in Rent Stabilization Code (RSC) § 2526.1(f)(2), which in pertinent part reads2:

                  (f) Responsibility for overcharges.
                  ….
                  (2) (i) For overcharge complaints filed or overcharges collected on or after
                  April 1, 1984, a current owner shall be responsible for all overcharge
                  penalties, including penalties based upon overcharges collected by any
                  prior owner. However, in the absence of collusion or any
                  relationship between such owner and any prior owner, where
                  no records sufficient to establish the legal regulated rent were
                  provided at a judicial sale, or such other sale effected in
                  connection with, or to resolve, in whole or in part, a bankruptcy
                  proceeding, mortgage foreclosure action or other judicial
                  proceeding, an owner who purchases upon or subsequent to
                  such sale shall not be liable for overcharges collected by any
                  owner prior to such sale, and treble damages upon overcharges
                  that he or she collects which result from overcharges collected
                  by any owner prior to such sale. An owner who did not purchase
                  at such sale, but who purchased subsequent to such sale, shall
                  also not be liable for overcharges collected by any prior owner
                  subsequent to such sale to the extent that such overcharges are
                  the result of overcharges collected prior to such sale.


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  Related, but different in nature, are the provisions found in RSC §§ 2522.6 (setting the lawful
rent) and 2523.7 (obligation to keep records).


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(emphasis added)

              10. The operative phrase is “where no records sufficient to establish the

legal regulated rent were provided”: in essence, “where no records sufficient to establish

the legal regulated rent were provided,” the purchaser at a bankruptcy sale will not be

liable for prior overcharges—and this is the very scenario the Tenants seek to avoid.

              11.   So if the Disclosure Statement and Plan do not include “records

sufficient to establish the legal regulated,” then the purchaser of the subject premises at

the contemplated bankruptcy sale might be able to pre-empt any future legal challenge to

the rents—a prospect that is utterly contrary to public policy.

              12. The Court must prevent the Debtors from using this venue as a means

for circumnavigating the New York State regulatory regime for residential housing.

              13. The Disclosure Statement and Plan should, at a minimum, “records

sufficient to establish the legal regulated rent,” which means the rent roll for the entire

subject premises for the last six years and all of the leases—this is a minimum.

              14. A precise account of the legal regulated rent would also require that

the Debtor make available all records related to any individual apartment improvements

that have been factored into the rent.

              15.   Furthermore, the Disclosure Statement and Plan should state

unequivocally that the subject premises are not being sold free and clear of all challenges

to the lawfulness of the rent and overcharge claims, and that the rents for the apartments

therein are not reliable and may be subject to legal challenge, and that any prospective

purchaser may be liable for the overcharges, pursuant to RPL § 223.




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                                     CONCLUSION

              16. For the foregoing reasons the Tenants object to the Debtors’ proposed

Disclosure Statement and Plan and respectfully request that they either be rejected or

amended so as to include records sufficient to establish the legal regulated rent.

 Dated:   New York, New York
          June 22, 2020                  Respectfully submitted,


                                         LAW OFFICE OF ELLERY IRELAND

                                         ________________
                                         Ellery Ireland, Esq.
                                         116 Pinehurst Avenue, T43
                                         New York, NY 10033
                                         eaiesq@gmail.com
                                         (212) 897-5840




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